           Case 4:20-cv-05640-YGR Document 311-2 Filed 02/02/21 Page 1 of 9


 1   Paul J. Riehle (SBN 115199)
     paul.riehle@faegredrinker.com
 2   FAEGRE DRINKER BIDDLE & REATH
      LLP
 3   Four Embarcadero Center
     San Francisco, California 94111
 4   Telephone: (415) 591-7500
     Facsimile: (415) 591-7510
 5
     Christine A. Varney (pro hac vice)
 6   cvarney@cravath.com
     Katherine B. Forrest (pro hac vice)
 7   kforrest@cravath.com
     Gary A. Bornstein (pro hac vice)
 8   gbornstein@cravath.com
     Yonatan Even (pro hac vice)
 9   yeven@cravath.com
     Lauren A. Moskowitz (pro hac vice)
10   lmoskowitz@cravath.com
     M. Brent Byars (pro hac vice)
11   mbyars@cravath.com
     CRAVATH, SWAINE & MOORE LLP
12   825 Eighth Avenue
     New York, New York 10019
13   Telephone: (212) 474-1000
     Facsimile: (212) 474-3700
14
     Attorneys for Plaintiff and Counter-defendant
15    Epic Games, Inc.
16
                                 UNITED STATES DISTRICT COURT
17
                            NORTHERN DISTRICT OF CALIFORNIA
18
                                       OAKLAND DIVISION
19

20    EPIC GAMES, INC.,
21                                                      No. 4:20-CV-05640-YGR-TSH
                                           Plaintiff,
22                                                      PLAINTIFF/COUNTER-DEFENDANT
                                                        EPIC GAMES, INC.’S SECOND SET OF
                           vs.                          REQUESTS FOR PRODUCTION OF
23
                                                        DOCUMENTS
24    APPLE INC.,
25                                      Defendant.
26
      And related counterclaims.
27

28
                  CONTAINS INFORMATION DESIGNATED CONFIDENTIAL
           EPIC’S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
                            CASE NO. 4:20-cv-05640-YGR-TSH
              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
           Case 4:20-cv-05640-YGR Document 311-2 Filed 02/02/21 Page 2 of 9


 1                  Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff
 2   and Counter-defendant Epic Games, Inc. hereby requests that Defendant and Counterclaimant
 3   Apple Inc. produce the following documents in its possession, custody, or control. The
 4   requested documents are to be made available to the law offices of Cravath, Swaine & Moore
 5   LLP, Worldwide Plaza, 825 Eighth Avenue, New York, NY 10019, within thirty (30) days
 6   from the date of service, or at such other time and location as may be mutually agreed upon by
 7   the parties.
 8                  This request for production is deemed to be continuing in nature to the full
 9   extent allowed under the Federal Rules of Civil Procedure so as to require a prompt
10   supplemental production should Apple Inc. obtain further information responsive to the
11   Requests for Production (the “Requests”) contained herein.
12                                               Definitions
13           The following definitions shall apply to the Requests contained herein:
14           1.     The terms “and”, “or”, and “and/or” shall be construed in the conjunctive or the
15   disjunctive, whichever makes the Request more inclusive.
16           2.     The term “any” shall include the word “all”, and vice versa.
17           3.     The term “App” means a software program or programs designed to run on a
18   computing device, regardless of the means of distribution.
19           4.     The term “App Store Small Business Program” means the program announced
20   by Apple on November 18, 2020 through which certain Developers can qualify for reduced
21   commissions and any similar program considered by Apple. (Apple, “Apple announces App
22   Store Small Business Program”, https://www.apple.com/newsroom/2020/11/apple-announces-
23   app-store-small-business-program/ (last accessed November 25, 2020).)
24           5.     The terms “Apple”, “You”, and/or “Your” means Apple Inc. and all
25   predecessors, successors, subsidiaries, divisions, parents, and/or affiliates thereof, past or
26   present, and all past or present officers, directors, affiliates, agents, employees, consultants and
27   representatives thereof, and any other person acting on behalf of any of the foregoing entities.
28
                   CONTAINS INFORMATION DESIGNATED CONFIDENTIAL
            EPIC’S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
               REDACTED VERSION   OF DOCUMENT
                             CASE NO.              SOUGHT TO BE SEALED
                                      4:20-cv-05640-YGR-TSH
                                            2
           Case 4:20-cv-05640-YGR Document 311-2 Filed 02/02/21 Page 3 of 9


 1          6.      The term “Communication” means every manner or means of disclosure,
 2   transfer or exchange of information, whether orally, in writing, face-to-face, via any video
 3   conferencing platform (e.g., Zoom, FaceTime), by telephone, mail, e-mail, text message,
 4   iMessage, short message service, messaging app (e.g., WhatsApp) or otherwise.
 5          7.      The term “Concerning” and any derivative thereof means constituting,
 6   evidencing, reflecting, incorporating, effecting, including or otherwise pertaining or relating to,
 7   either directly or indirectly, or being in any way logically or factually connected with.
 8          8.      The term “Customer”, when used in relation to an App, product, or service,
 9   means a person who downloads, launches, accesses or otherwise uses that App, product, or
10   service.
11          9.      The term “Developer” means any person or entity who develops or publishes an
12   App or other software.
13          10.     The term “Document(s)” shall have the broadest meaning ascribed to it by
14   Federal Rule of Civil Procedure 34(a) and means any writing of any kind, Including
15   electronically stored information (“ESI”), originals and all non-identical copies (whether
16   different from the original by reason of any notation made on such copies or otherwise). This
17   shall include, without limitation, the following items, whether printed or reproduced by any
18   process, or written or produced by hand or stored in computer memory, magnetic or hard disk
19   or other data storage medium, and whether or not claimed to be privileged, confidential, or
20   otherwise excludable from discovery, namely, notes, letters, correspondence, Communications,
21   emails, electronic messages (e.g., text messages, instant messages, iMessage Communications,
22   Communications via messaging App such as WhatsApp), telegrams, memoranda, summaries or
23   records of telephone conversations, voicemails, summaries or records of personal conversations
24   or meetings, diaries, calendars, reports, laboratory and research reports and notebooks, recorded
25   experiments, charts, plans, drawings, diagrams, schematic diagrams, HDL, Verilog, or other
26   code, illustrations, product descriptions, product analyses, requests for proposals, documents
27   related to proposed or actual product improvements or changes, user manuals or guides,
28   installation manuals or guides, technical descriptions or specifications, product repair manuals
                  CONTAINS INFORMATION DESIGNATED CONFIDENTIAL
           EPIC’S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
              REDACTED VERSION   OF DOCUMENT
                            CASE NO.              SOUGHT TO BE SEALED
                                     4:20-cv-05640-YGR-TSH
                                           3
           Case 4:20-cv-05640-YGR Document 311-2 Filed 02/02/21 Page 4 of 9


 1   or guides, photographs, video images, software flow charts or descriptions or specifications,
 2   product functional descriptions or specifications, minutes or records of meetings, summaries of
 3   interviews, reports, or investigations, opinions or reports of consultants, reports of patent
 4   searches, patent appraisals, opinions of counsel, agreements, reports or summaries of
 5   negotiations, brochures, pamphlets, advertisements, circulars, trade letters, social media posts,
 6   press releases, drafts of documents, sound recordings, and all other material fixed in a tangible
 7   medium of whatever kind known to You or in Your possession, custody, or control.
 8           11.     The term “Epic” means Epic Games, Inc. and all predecessors, successors,
 9   subsidiaries, divisions, parents, and/or affiliates thereof, past or present, and all past or present
10   officers, directors, affiliates, agents, employees, consultants, representatives, and any other
11   person acting on behalf of any of the foregoing entities.
12           12.     The term “Including” means including, but not limited to.
13           13.     The term “iOS” means all versions of iOS, the operating system used by the
14   iPhone and iPod touch, and of iPadOS, the operating system used by the iPad.
15           14.     The term “iOS App Store” means the Software Store operated by Apple for use
16   on iOS.
17           15.     The term “Software Store” means any digital store that offers Apps for digital
18   distribution.
19                                               Instructions
20           A.      The timeframe for the Requests is unlimited unless specifically stated otherwise
21   in a Request.
22           B.      The geographic scope of the Requests is worldwide.
23           C.      In responding to the Requests, You shall produce all Documents in Your
24   possession, custody, or control, Including Documents in the possession, custody, or control of
25   Your agents, representatives, employees, accountants, attorneys or other persons acting or
26   purporting to act on Your behalf.
27           D.      All ESI is to be produced in accordance with the Order Granting Joint
28   Stipulation re: Discovery of Electronically Stored Information (Dkt. 143) (the “ESI Protocol”).
                   CONTAINS INFORMATION DESIGNATED CONFIDENTIAL
            EPIC’S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
               REDACTED VERSION   OF DOCUMENT
                             CASE NO.              SOUGHT TO BE SEALED
                                      4:20-cv-05640-YGR-TSH
                                            4
           Case 4:20-cv-05640-YGR Document 311-2 Filed 02/02/21 Page 5 of 9


 1          E.      Pursuant to Federal Rule of Civil Procedure 34(b)(2), to the extent any Request
 2   is objected to in whole or in part, state whether You intend to withhold any Documents on
 3   account of any objection and, if so, what Documents You intend to withhold, and produce all
 4   Documents responsive to those parts of the Request as to which no objection is made.
 5          F.      If a portion of a Document is responsive, produce the entire Document family in
 6   unredacted form (subject to Instruction G, below). For purposes of this Instruction, “Document
 7   family” means a group of files consisting of a parent Document and all Documents attached to
 8   that parent Document, Including an email and its attachments or a meeting agenda and its
 9   attachments.
10          G.      If any Document is withheld from production on the basis of privilege,
11   immunity, or any similar claim, provide a log in accordance with the ESI Protocol.
12          H.      Whenever necessary to bring within the scope of any Request that might
13   otherwise be construed to be outside its scope: (a) the use of any verb in any tense shall be
14   construed as the use of that verb in all other tenses; and (b) the use of a word in its singular
15   form shall be deemed to include within its use the plural form and vice versa.
16          I.      Any reference to an Apple product or service in these Requests refers to all
17   models and versions of that product or service, as well as to each separate model and version of
18   such product or service, Including prototype or other early-stage models and versions that were
19   not commercialized.
20          J.      The use of the singular shall be deemed to include the plural and vice versa.
21          K.      No Request shall be read as limiting any other Request.
22          L.      The Requests are continuing in nature and impose on Apple the obligations set
23   forth in Federal Rule of Civil Procedure 26(e).
24                              Requests for Documents to Be Produced
25   REQUEST FOR PRODUCTION NO. 71:
26                  All Documents Concerning Apple’s decision or rationale to create the App Store
27   Small Business Program.
28
                   CONTAINS INFORMATION DESIGNATED CONFIDENTIAL
            EPIC’S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
               REDACTED VERSION   OF DOCUMENT
                             CASE NO.              SOUGHT TO BE SEALED
                                      4:20-cv-05640-YGR-TSH
                                            5
           Case 4:20-cv-05640-YGR Document 311-2 Filed 02/02/21 Page 6 of 9


 1   REQUEST FOR PRODUCTION NO. 72:
 2                  All Documents Concerning the actual or potential financial and other business
 3   consequences of the App Store Small Business Program.
 4
     REQUEST FOR PRODUCTION NO. 73:
 5
                    All Documents Concerning the actual or potential public reception of the App
 6
     Store Small Business Program.
 7
     REQUEST FOR PRODUCTION NO. 74:
 8
                    All Documents Concerning Apple’s consideration of the terms of the App Store
 9
10   Small Business Program, including the pricing, qualification thresholds, and end date or lack of

11   end date.

12   REQUEST FOR PRODUCTION NO. 75:
13                  All Documents Concerning Apple’s statement that “The new App Store Small
14   Business Program will build on that progress to generate even more digital commerce and app
15
     innovations, support new jobs, and help small and independent developers continue to bring
16
     great software to Apple users.” (Apple, “Apple announces App Store Small Business
17
     Program”, https://www.apple.com/newsroom/2020/11/apple-announces-app-store-small-
18

19   business-program/ (last accessed November 25, 2020).)

20   REQUEST FOR PRODUCTION NO. 76:

21                  All Documents Concerning Apple’s statement that “The savings mean small

22   businesses and developers will have even more funds to invest in their businesses, expand their
23
     workforce, and develop new, innovative features for app users around the world.” (Apple,
24
     “Developers see a world of possibilities with new App Store Small Business Program”,
25
     https://www.apple.com/newsroom/2020/11/developers-see-a-world-of-possibilities-with-new-
26
     app-store-small-business-program/ (last accessed November 25, 2020).)
27

28
                  CONTAINS INFORMATION DESIGNATED CONFIDENTIAL
           EPIC’S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
              REDACTED VERSION   OF DOCUMENT
                            CASE NO.              SOUGHT TO BE SEALED
                                     4:20-cv-05640-YGR-TSH
                                           6
           Case 4:20-cv-05640-YGR Document 311-2 Filed 02/02/21 Page 7 of 9


 1   REQUEST FOR PRODUCTION NO. 77:
 2                 All Documents Concerning Apple’s statement that Apple announced the App
 3   Store Small Business Program “to accelerate innovation”. (Apple, “Apple announces App
 4
     Store Small Business Program”, https://www.apple.com/newsroom/2020/11/apple-announces-
 5
     app-store-small-business-program/ (last accessed November 25, 2020).)
 6
     REQUEST FOR PRODUCTION NO. 78:
 7
                   All Documents Concerning alternatives considered by Apple to the App Store
 8

 9   Small Business Program.

10   REQUEST FOR PRODUCTION NO. 79:

11                 Documents sufficient to show the actual and projected impact of the App Store

12   Small Business Program on Apple’s or any Apple business unit’s revenue, costs, expenses, and

13   profits.

14   REQUEST FOR PRODUCTION NO. 80:

15                 All Documents Concerning Communications between Apple and any

16   Developers Concerning the App Store Small Business Program.

17   REQUEST FOR PRODUCTION NO. 81:

18                 All Documents Concerning

19

20

21   REQUEST FOR PRODUCTION NO. 82:

22                 All studies, analyses, surveys, reports, assessments or papers that Apple created,

23   conducted, commissioned or reviewed Concerning the ability or inability of Developers to use

24   “the open Internet and web browser apps to reach all users outside of the App Store” on iOS.

25   (App Store Review Guidelines § 4.9.)

26   REQUEST FOR PRODUCTION NO. 83:

27                 All studies, analyses, surveys, reports, assessments or papers that Apple created,

28   conducted, commissioned or reviewed Concerning the extent to which Developers or

                   CONTAINS INFORMATION DESIGNATED CONFIDENTIAL
            EPIC’S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
               REDACTED VERSION   OF DOCUMENT
                             CASE NO.              SOUGHT TO BE SEALED
                                      4:20-cv-05640-YGR-TSH
                                            7
           Case 4:20-cv-05640-YGR Document 311-2 Filed 02/02/21 Page 8 of 9


 1   Customers view “the open Internet and web browser apps” on iOS as substitutes for the iOS
 2   App Store. (App Store Review Guidelines § 4.9.)
 3

 4   Dated: November 25, 2020
 5                                                     Respectfully submitted,
 6                                                     By /s/ Lauren A. Moskowitz
 7
                                                           FAEGRE DRINKER BIDDLE &
 8                                                         REATH LLP
 9                                                         Paul J. Riehle
                                                           paul.riehle@faegredrinker.com
10
                                                           Four Embarcadero Center
11                                                         San Francisco, California 94111
                                                           Telephone: (415) 591-7500
12                                                         Facsimile: (415) 591-7510
13                                                         CRAVATH, SWAINE & MOORE
                                                           LLP
14
                                                           Christine A. Varney (pro hac vice)
15                                                         cvarney@cravath.com
                                                           Katherine B. Forrest (pro hac vice)
16                                                         kforrest@cravath.com
                                                           Gary A. Bornstein (pro hac vice)
17                                                         gbornstein@cravath.com
                                                           Yonatan Even (pro hac vice)
18                                                         yeven@cravath.com
                                                           Lauren A. Moskowitz (pro hac vice)
19                                                         lmoskowitz@cravath.com
                                                           M. Brent Byars (pro hac vice)
20                                                         mbyars@cravath.com
21                                                         825 Eighth Avenue
                                                           New York, New York 10019
22                                                         Telephone: (212) 474-1000
                                                           Facsimile: (212) 474-3700
23
                                                           Attorneys for Plaintiff and Counter-
24                                                         defendant
                                                           EPIC GAMES, INC.
25

26

27

28
                  CONTAINS INFORMATION DESIGNATED CONFIDENTIAL
           EPIC’S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
              REDACTED VERSION   OF DOCUMENT
                            CASE NO.              SOUGHT TO BE SEALED
                                     4:20-cv-05640-YGR-TSH
                                           8
           Case 4:20-cv-05640-YGR Document 311-2 Filed 02/02/21 Page 9 of 9


 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that on November 25, 2020, I served true and correct copies of
 3   Plaintiff/Counter-defendant Epic Games, Inc.’s Second Set of Requests for Production of
 4   Documents via electronic mail, pursuant to an agreement among the parties for electronic
 5   service, to the following counsel of record in this action and the related actions:
 6   Theodore J. Boutrous Jr.                      Steve W. Berman
     Richard J. Doren                              Robert F. Lopez
 7   Daniel G. Swanson                             Shana E. Scarlett
 8   Mark A. Perry                                 Benjamin J. Siegel
     Veronica S. Lewis                             HAGENS BERMAN SOBOL SHAPIRO LLP
 9   Cynthia E. Richman                            steve@hbsslaw.com
     Jay P. Srinivasan                             robl@hbsslaw.com
10   Ethan D. Dettmer                              shanas@hbsslaw.com
     Eli M. Lazarus                                bens@hbsslaw.com
11   Harry Phillips                                Interim Class Counsel for the Developer Plaintiffs
12   GIBSON, DUNN & CRUTCHER LLP
     tboutrous@gibsondunn.com
13   rdoren@gibsondunn.com                         Mark C. Rifkin
     dswanson@gibsondunn.com                       Rachele R. Byrd
14   mperry@gibsondunn.com                         Matthew M. Guiney
     vlewis@gibsondunn.com                         Brittany N. DeJong
15   crichman@gibsondunn.com                       WOLF HALDENSTEIN ADLER FREEMAN &
16   jsrinivasan@gibsondunn.com                    HERZ LLP
     edettmer@gibsondunn.com                       rifkin@whafh.com
17   elazarus@gibsondunn.com                       byrd@whafh.com
     hphillips2@gibsondunn.com                     guiney@whafh.com
18                                                 dejong@whafh.com
     William F. Stute                              Interim Class Counsel for the Consumer Plaintiffs
19
     E. Joshua Rosenkranz
20   ORRICK, HERRINGTON & SUTCLIFFE LLP
     wstute@orrick.com
21   jrosenkranz@orrick.com
     Attorneys for Apple Inc.
22

23
            I certify under penalty of perjury that the foregoing is true and correct. Executed on
24
     November 25, 2020, at Rochester, New York.
25

26
                                                           /s/ John I. Karin
27                                                         John I. Karin

28
                  CONTAINS INFORMATION DESIGNATED CONFIDENTIAL
           EPIC’S SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS
              REDACTED VERSION   OF DOCUMENT
                            CASE NO.              SOUGHT TO BE SEALED
                                     4:20-cv-05640-YGR-TSH
                                           9
